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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **          *
                                               *
  TELUM PROTECTION CORP.,                      *
                     Plaintiff,                *
                                               *
             v.                                    No. 16-665C
                                               *
                                                   Filed: January 9, 2017
                                               *
  UNITED STATES,                               *
                     Defendant.                *
                                               *
   * * * * * * * * * * * * * * * * **          *

                                        ORDER

       The court is in receipt of the parties’ January 9, 2017 joint stipulation of dismissal
with prejudice. Pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the United States Court of
Federal Claims (2016), this court ORDERS that this case be DISMISSED with prejudice,
with each party to bear its own legal costs, attorney fees, and expenses.

       IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
